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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

PERENCO ECUADOR LTD.,                              )

                        Petitioner,                )

        v.                                         )
                                                       Case No. 19-cv-02943-JMC
THE REPUBLIC OF ECUADOR,                           )

                        Respondent.                )

                                                   )


                     JOINT MOTION FOR A STATUS CONFERENCE

       Petitioner Perenco Ecuador Limited (“Perenco”) and Respondent Republic of Ecuador

(“Ecuador,” and together with Perenco, the “Parties”) jointly submit this Motion for a Status

Conference with respect to Perenco’s Petition to Enforce Arbitral Award, ECF No. 1, and

Ecuador’s Partial Opposition to Petition to Enforce Arbitral Award and Cross-Motion for Setoff,

ECF No. 20.

       Perenco commenced this action over two-and-a-half years ago, on October 1, 2019. The

Parties understand that the resolution of the matter has been delayed for various reasons,

including a stay of the case pending annulment proceedings and the elevation of the original U.S.

District Judge assigned to the case to the Court of Appeals. However, now that briefing on the

matter is complete, both Parties wish to conclude this long-running dispute as expeditiously as

possible. The Parties therefore jointly move the Court to schedule a conference at its earliest

convenience to assess if the Parties can be of any further assistance to the Court in its resolution

of the Parties’ now-fully briefed submissions.




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Dated: May 26, 2022

DEBEVOISE & PLIMPTON LLP               DECHERT LLP



/s/ Mark W. Friedman                   /s/ Alexandre de Gramont

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